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                         IN Tl IE UNITED STATES DISTRICT COURT
                       l-OR THE SGUTHIiRN DISTRICT OF GEORGIA
                                      AUGUSTA DIVISION


 INTHEMATrEROI-THESBARCI-IOI-:                       )
                                                     )       Case No. \-nM\24
 1957 BATI LH ROW.                                   )                           ^
 AUGUSTA. GA 30904 and                               )
 A LIGHT COLOR NISSAN CUBE WITII                     )       Filed Under Seal
 VIN JN8AZ2KR0CT254476. and the person               )
 ofREALlTY LEIGH WINNI:R                             )

                               AFFIDAVIT IN SUPPORT OF AN
                           AFPLICATION t NDFR RULE 41 FOR A
                            WARRANT TO SEARCH AND SEIZE

        1. Jiislin C. Garrick. being llrsi duly sworn, hereby depose and state as follows:

                      IN TRODUCTION AND AGENT BACKGROUND


        !.     I make tills aflldavit in support of an application under Rule 41 ofthe Federal

Rules cfCriniinal Frocedure for a warrant lo search the premises known as 1957 Battle Row.

Augusta. GA 30904, hereinafter "PREMISES." further described in Attachment A; a light-

colored Nissan Cube with VIN JN8AZ2KR0C 1254476. hercinaltcr "VEHICLE"; and the person

of REALITY LEIGH WINNER, hereinafter "WINNER." for the things described in Attachment

B.


        2.     1 am a Special Agenl with the Federal Bureau of Investigation ("FBI") assigned lo

the Atlanta division, and have been since 2008. During this time. 1 have received training at the

FBI Academy located at Quanlico. Virginia, specific to countcrintelligence and espionage

investigations. I currently am a.ssigncd lo investigate counterintelligence and espionage matters.

Based on my experience and training. I am familiar with efforts used to unlawfully collect and

disseminate sensitive government information, including national defense information.

        3.     There is probable cause lo believe that the PREMISES,VEIIICLE. and WINNER'S
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person contain evidence, contraband, fruits, and/or other items illegally possessed in violation of

18 U.S.C.§ 793(e).

        4.      The facts set forth in this affidavit are based on my personal knowledge,

knowledge obtained during my participation in this investigation, and information from other

FBI and U.S. Government personnel. This affidavit is intended to show only that there is

sufficient probable cause for the requested warrant and does not set forth all of my knowledge

about this matter.

                       STATUTORY AUTHORITY AND DEFINITIONS


        5.      For the reasons set forth below, I believe that there is probable cause to believe that

the PREMISES, VEHICLE, and WINNER'S person contain evidence, contraband, fruits, and/or

other items illegally possessed in violation of Title 18, United States Code, Section 793(e)(the

"Subject Offense").

        6.      Under 18 U.S.C. § 793(e),"whoever having unauthorized possession of, access to,

or control over any document... or information relating to the national defense which

information the possessor has reason to believe could be used to the injury of the United States or

to the advantage ofany foreign nation, willfully communicates, delivers, transmits or causes to be

communicated, delivered, or transmitted" or attempts to do or causes the same "to any person not

entitled to receive it, or willfully retains the same and fails to deliver it to the officer or employee

of the United States entitled to receive it" shall be lined or imprisoned not more than ten years, or

both.


        7.      Under E,\ecutive Order 13526. information in any form may be classified if it:(I)

is owned by, produced by or for, or is under the control of the United States Government;(2) falls
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within one or more of the categories set forth in the lixecutive Order[Top Secret, Secret, and

Confidential]; and (3) is classified by an original classification authority who determines that its

unauthorized disclosure reasonably could be expected to result in damage to the national security.

        8.     Where such unauthorized disclosure could reasonably result in damage to the

national security, the information may be classified as "Confidential" and must be properly

safeguarded. Where such unauthorized disclosure could reasonably result in serious damage to

the national security, the information may be classified as "Secret" and must be properly

safeguarded. Where such unauthorized disclosure could reasonably result in exceptionally grave

damage to the national security, the information may be classified as "Top Secret" and must be

properly safeguarded.

        9.     Classified information of any designation may be shared only with persons

determined by an appropriate United Stales Government official to be eligible for access, and who

possess a "need to know." Among other requirements, in order for a person to obtain a security

clearance allowing that person access to classified United States Government information, that

person is required to and must agree to properly protect classified information by not disclosing

such information to persons not entitled to receive it. by not unlawfully removing classified

information from authorized storage facilities, and by not storing classified information in

unauthorized locations. If a person is not eligible to receive classified information, classified

information may not be disclosed to that person. In order for a foreign government to receive

access to classified information, the originating United States agency must determine that such

release is appropriate.

        10.    Pursuant to I-xecutive Order 13526, classified information contained on automated
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information systems, including networks and telecommunications systems, that collect, create,

communicate, compute, disseminate, process, or store classified information must be maintained

in a manner that:(I) prevents access by unauthorized persons; and (2)ensures the integrity of the

information.


        11.    32 C.F.R. Parts 2001 and 2003 regulate the handling of classified information.

Specifically, 32 C.F.R. § 2001.43, titled "Storage," regulates the physical protection of classified

information. This section prescribes that Secret and Top Secret information "shall be stored in a

GSA-approved security container, a vault built to Federal Standard (FMD STD)832, or an open

storage area constructed in accordance with § 2001.53." It also requires periodic inspection of the

container and the use of an Intrusion Detection System, among other things.

                                       PROBABLE CAUSE


        12.    As set forth in further detail below, WINNER is under investigation for printing

and improperly removing and transmitting classified material from an Intelligence Community

Agency (the "U.S. Government Agency") on or about May 9, 2017, and passing the clas.sified

material to an online news outlet (the "News Outlet"). WINNER is a contractor with Pluribus

International Corporation assigned to a U.S. Government Agency facility in Georgia. She has

been employed at the facility since on or about February 13. 2017. From January 2013 until her

employment with Pluribus International Corporation. WINNER was an active duty member of

the U.S. Air Force and held a Top Secret clearance.

        13.    On June I, 2017, the FBI was notified by the U.S. Government Agency that the

U.S. Government Agency had been contacted by the News Outlet on May 30, 2017, regarding an

upcoming story. The News Outlet informed the U.S Government Agency that it was in
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possession of what it believed to be a classified document authored by the U.S Government

Agency. The News Outlet provided the U.S. Government Agency with a copy of this document.

Subsequent analysis by the U.S. Government Agency confirmed that the document in the News

Outlet's possession is intelligence reporting dated on or about May 5. 2017(the "intelligence

reporting"). This intelligence reporting is classified at the Top Secret level, indicating that its

unauthorized disclosure could reasonably result in c.xccptionally grave damage to the national

security, and is marked as such. The U.S. Government Agency has since confirmed that the

reporting contains information that was classified at that level at the time that the reporting was

published on or about May 5, 2017, and that such information currently remains classified at that

level.


         14.   The U.S. Government Agency examined the document shared by the News Outlet

and determined the pages ofthe intelligence reporting appeared to be folded and/or creased,

suggesting they had been printed and hand-carried out of a secured space.

         15.   The U.S. Government Agency conducted an internal audit to determine who

accessed the intelligence reporting since its publication. The U.S. Government Agency

determined that six individuals printed this reporting. These six individuals included WINNER.

A further audit of the six individuals' desk computers revealed that WINNER had e-mail contact

with the News Outlet. The audit did not reveal that any of the other individuals had e-mail contact

with the News Outlet.


         16.   The U.S. Government Agency determined that WINNER had e-mail

communication with the News Outlet on or about March 30, 2017, and March 31, 2017. The first

e-mail was from WINNER, using e-mail address da3rc.fitness@gmail.com, to the News Outlet.
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In it, WINNER appeared to request transcripts of a podcast. 'fhc second e-mail was from the

News Outlet to da3re.fitness@gmail.com and confirmed WINNER'S subscription to the service.

The da3re.fitness@gmail.com account is a personal e-mail account not sponsored by or affiliated

with the U.S. Government Agency.

        17.    On or about May 9. 2017. four days after the publication ofthe classified report,

WINNER conducted searches on the U.S. Government Agency's classified system for certain

search terms, which led WINNER to identify the intelligence reporting. On or about May 9,

2017, WINNER also printed the intelligence reporting. A review of WINNER'S computer history

revealed she did not print any other intelligence report in May 2017.

        18.    At all times relevant to this affidavit. WINNER has maintained an active Top

Secret clearance. The U.S. Government Agency confirmed that although WINNER had the

required access to search for and view the intelligence reporting, the information contained in the

intelligence reporting is unrelated to her job duties, and WINNER therefore does not possess a

"need to know."


        19.    On or about May 24, 2017, a reporter for the News Outlet(the "Reporter")

contacted another U.S. Government Agency affiliate with whom he has a prior relationship. This

individual works for a contractor for the U.S. Government (the "Contractor"). The Reporter

contacted the Contractor via text message and asked him to review certain documents. The

Reporter told the Contractor that the Reporter had received the documents through the mail, and

they were postmarked "Augusta. Georgia." WINNliR resides in Augusta, Georgia. The Reporter

believed that the documents were sent to him from someone working at the location where

WINNER works. The Reporter took pictures of the documents and sent them to the Contractor.
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The Reporter asked the Contractor to determine the veracity of the documents. The Contractor

informed the Reporter that he thought that the documents were fake. Nonetheless, the Contractor

contacted the U.S. Government Agency on or about June 1, 2017, to inform the U.S. Government

Agency of his interaction with the Reporter. Also on June I. 2017, the Reporter texted the

Contractor and said that a U.S Government Agency official had verified that the document was

real. When questioned about what intelligence report number was associated with the images on

his phone, the Contractor supplied the reporting number associated with the intelligence reporting

at issue.


        20.    On May 27 to 29, 2017, WINNER traveled outside the United States to Belize in

Central America. WINNER provided notice to the U.S. Government Agency in March 2017 of

her intent to travel to Belize in May 2017. The purpose of WINNER'S travel and her activities

while abroad are unknown.


        21.    WINNER resides at the PREMISliS, as verified on June 2, 2017, by her Driver's

License address and two utility billing addresses. Additionally, WINNER owns and drives a

light-colored Nissan Cube with VIN JN8AZ2KR0CT254476. as verified by the vehicle

registration information. Agents viewed a light-colored Nissan Cube parked at the PREMISES on

June 2. 2017. and witnessed WINNER traveling in the VEHICLE in Augusta, Georgia, on June 3.

2017. I confirmed on June 2. 2017. that WINNER has a cellular phone serviced by

Cingular/AT&T. In my training and experience, people typically store their electronics and

correspondence (including letters or printed emails) in their homes and transport them in their

vehicles. I also know that people typically carry small electronic storage devices and

communication devices, such as thumb drives and cellular phones, on their person. There is thus
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probable cause to believe that intelligence reporting and evidence ofcorrespondence between

WINNER and the News Outlet, among other items ofevidentiary value, may be found inside the

PREMISES and the VEHICLE, as well as on storage and communication devices on WINNER'S

person. Moreover, there is probable cause to believe that evidence ofcommunications between

WINNER and the News Outlet, among other items of evidentiary value, will be found on

WINNER'S electronic devices at the PREMISES, in the VEHICLE,and on WINNER'S person.

         COMPUTERS,ELECTRONIC STORAGE,AND FORENSIC ANALYSIS

        22.      As described in Attachment U. this application seeks permission to search for

records that might be found on the PREMISES, in the VEHICLE,and on WINNER'S person, in

whatever form they are found. One form in which the records might be found is data stored on a

computer's hard drive or other storage media. Thus, the warrant applied for would authorize the

seizure of electronic storage media or, potentially, the copying ofelectronically stored

information, all under Rule 41(e)(2)(B).

        23.      Probable cause. I submit that if a computer or storage medium is found on the

PREMISES, in the VEHICLE,or on WINNER'S pcr.son. there is probable cause to believe those

records will be stored on that computer or storage medium, for at least the following reasons:

              a. Based on my knowledge, training, and experience, I know that computer files or

                 remnants ofsuch llles can be recovered months or even years after they have been

                 downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic

                 files downloaded to a storage medium can be stored for years at little or no cost.

                 Even when files have been deleted, they can be recovered months or years later

                 using forensic tools. This is so because when a person "deletes" a file on a
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                computer, the data contained in the file docs not actually disappear; rather, that

                data remains on the storage medium until it is overwritten by new data.


             b. Therefore, deleted files, or remnants ofdeleted files, may reside in free space or

                slack space, that is, in space on the storage medium that is not currently being

                used by an active file.. for long periods oftime before they are overwritten. In

                addition, a computer's operating system may also keep a record ofdeleted data in

                a "swap" or "recovery" file.

             c. Wholly apart from user-generated files, computer storage media - in particular,

                computers' internal hard drives - contain electronic evidence of how a computer

                has been used, what it has been u.scd for. and who has used it. To give a few

                examples, this forensic evidence can take the form of operating system

                configurations, artifacts from operating sy.stem or application operation, file

                system data structures, and virtual memory "swap" or paging files. Computer

                users typically do not erase or delete this evidence, because special software is

                typically required for that task. However, it is technically possible to delete this

                information.


             d. Similarly, files that have been viewed via the Internet are sometimes automatically

                downloaded into a temporary internet directory or "cache."

       24.      Forensic evidence. As further described in Attaehment H, this application seeks

permission to locate not only computer files that might .serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that e.stablishes how computers

were used, the purpose of their use, who used them, and when, fhcrc is probable cause to believe
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that this forensic electronic evidence will be on any storage medium in the PREMISES, in the

VEHICLE,or on WINNER'S person because:

           a. Data on the storage medium can provide evidence of a file that was once on the

               storage medium but has since been deleted or edited, or ofa deleted portion of a

               file (such as a paragraph that has been deleted from a word processing file).

               Virtual memory paging systems can leave traces of information on the storage

               medium that show what tasks and processes were recently active. Web browsers,

               e-mail programs, and chat programs .store configuration information on the storage

               medium that can reveal information such as online nicknames and passwords.

               Operating systems can record additional information, such as the attachment of

               peripherals, the attachment of USB 1 lash storage devices or other e.xternal storage

               media, and the times the computer was in use. Computer file systems can record

               information about the dates files were created and the sequence in which they were

               created, although this information can later be falsified,

              b.      As explained herein, information stored within a computer and other

              electronic storage media may provide crucial evidence of the ''who, what, why,

              when, where, and how" ofthe criminal conduct under investigation, thus enabling

              the United States to establish and prove each element or alternatively, to exclude

              the innocent from further suspicion. In my training and experience, information

              stored within a computer or storage media (e.g., registry information,

              communications, images and movies, transactional information, records ofsession

              times and durations, internet history, and anti-virus, spywarc. and malware




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      detection programs)can indicate who has used or controlled the computer or

      storage media. This "user attribution" evidence is analogous to the search for

      "indicia of occupancy" while executing a search warrant at a residence. The

      existence or absence of anti-virus, spyware, and malware detection programs may

      indicate whether the computer was remotely accessed, thus inculpating or

      exculpating the computer owner. Further, computer and storage media activity can

      indicate how and when the computer or storage media was accessed or used, for

      e-\ample, as described herein, computers typically contain information that log:

      computer user account session times and durations, computer activity associated

      with user accounts, electronic storage media that connected with the computer, and

      the IP addresses through which the computer accessed networks and the internet.

      Such information allows investigators to understand the chronological context of

      computer or electronic storage media access, use, and events relating to the crime

      under investigation. Additionally, some information stored within a computer or

      electronic storage media may provide crucial evidence relating to the physical

      location of other evidence and the suspect. For example, images .stored on a

      computer may both show a particular location and have geolocation information

      incorporated into its file data. Such file data typically also contains information

      indicating when the file or image was created. The exi.stence of such image files,

      along with external device connection logs, may also indicate the presence of

      additional electronic storage media (e.g., a digital camera or cellular phone with an

      incorporated camera). The geographic and timeline information described herein
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       may either inculpate or exculpate the computer user. Last, information stored

       within a computer may provide relevant insight into the computer user's state of

       mind as it relates to the offense under investigation. For example, information

       within the computer may indicate the owner's motive and intent to commit a crime

      (e.g., internet searches indicating criminal planning), or consciousness of guilt

      (e.g., running a "wiping" program to destroy evidence on the computer or

       password protecting/encrypting such evidence in an effort to conceal it from law

      enforcement).

   c. A person with appropriate familiarity with how a computer works can, after

      examining this forensic evidence in its proper context, draw conclusions about how

      computers were used, the purpose of their use, who used them, and when.

   d. The process of identifying the exact llles, blocks, registry entries, logs, or other

      forms of forensic evidence on a storage medium that are necessary to draw an

      accurate conclusion is a dynamic process. While it is possible to specify in

      advance the records to be sought, computer evidence is not always data that can be

       merely reviewed by a review team and passed along to investigators. Whether data

      stored on a computer is evidence may depend on other information stored on the

      computer and the application of knowledge about how a computer behaves.

      Therefore, contextual information nccc.ssary to understand other evidence also falls

      within the scope of the warrant.

   e. Further, in finding evidence of how a computer was used, the purpose of its use,

       who used it, and when, sometimes it is necessary to establish that a particular thing




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                is not present on a storage medium. 1-or example, the presenee or absence of

                counter-forensic programs or anti-virus programs(and associated data) may be

                relevant to e.stablishing the user's intent.

       25.      Necessity ofseizing or copying entire computers or storage media. In most cases,

a thorough search of a premises or vehicle for information that might be stored on storage media

often requires the seizure ofthe physical storage media and later off-site review consistent with

the warrant. In lieu ofremoving storage media from the premises or vehicle, it is sometimes

possible to make an image copy ofstorage media. Generally speaking, imaging is the taking of a

complete electronic picture ofthe computer's data, including all hidden sectors and deleted files.

Either seizure or imaging is often necessary to ensure the accuracy and completeness ofdata

recorded on the storage media, and to prevent the loss of the data either from accidental or

intentional destruction. This is true because ofthe following:

             a. The time required for an examination. As noted above, not all evidence takes the

                form of documents and files that can be easily viewed on site. Analyzing evidence

                of how a computer has been used, w hat it has been used for. and who has used it

                requires considerable time, and taking that much time on premises could be

                unreasonable. As explained above, because the warrant calls for forensic

                electronic evidence, it is exceedingly likely that it will be necessary to thoroughly

                examine storage media to obtain evidence. Storage media can store a large

                volume of information. Reviewing that information for things described in the

                warrant can take weeks or months, depending on the volume ofdata stored, and

                would be impractical and invasive to attempt on-sitc.
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             b. Technical requirements. Computers can be configured in several different ways,

                featuring a variety of different operating systems, application software, and

                configurations. Therefore, searching them sometimes requires tools or knowledge

                that might not be present on the search site. The vast array ofcomputer hardware

                and software available makes it difTicult to know before a search what tools or

                knowledge will be required to analyze the system and its data on the Premises.

                However, taking the storage media off-site and reviewing it in a controlled

                environment will allow its examination with the proper tools and knowledge.

             c. Variety of forms of electronic media. Records sought under this warrant could be

                stored in a variety ofstorage media formats that may require off-site reviewing

                with specialized forensic tools.

       26.      Nature ofexamination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the

warrant, and would authorize a later review ofthe media or information consistent with the

warrant. The later review may require techniques, including but not limited to computer-assisted

scans of the entire medium, that might expose many parts of a hard drive to human inspection in

order to determine whether it is evidence described by the warrant.

                                          CONCLUSION


       27.      I submit that this affidavit supports probable cause for a warrant to search the

PREMISES,the VEMICLE, and the PERSON described in Attachment A and seize the items

described in Attachment B.




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                                   REQUEST FOR SEALING


        28.    i( is respectfully requested thai this Court issue an order sealing, until further order

of the Court, all papers submitted in support ofthis application, including the application and

search warrant. I believe that sealing this document is necessary because the items and

information to be seized are relevant to an ongoing investigation and the l-'UI has not yet identified

all potential criminal confederates nor located all evidence related to its investigation. Premature

disclosure of the contents of this affidavit and related documents may have a significant and

negative impact on the continuing investigation and may scverclyjcopardi/e its effectiveness by

allowing criminal parties an opportunity to flee, destroy evidence (stored electronically and

otherwise), change patterns of behavior, and notify criminal confederates.



                                                      Respectfully submitted.




                                                      Ju?
                                                      Special Agent
                                                      T'cderal liureaii of Investigation

        Subscribed and sworn to before me
        on June 3. 2017;




                       ABll BRIAN K. EPFS
        UNITED STATES MAGISTRA TE JUDG!-:
